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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ENEYDA ROMERO MOLINA,                CRIMINAL ACTION
                                     1:08-CR-457-CAP-GGB-7
          Movant,                     CIVIL ACTION
     v.                               NO. 1:10-CV-2666-CAP
UNITED STATES OF AMERICA,
          Respondent.

                              O R D E R

     After carefully considering the report and recommendation of

the magistrate judge [Doc. No. 244], there being no objections

thereto, the court receives it with approval and ADOPTS it as the

opinion and order of this court.

     SO ORDERED, this 31st day of August, 2011.



                                 /s/ Charles A. Pannell, Jr.
                                 CHARLES A. PANNELL, JR.
                                 United States District Judge
